                     Case 1:06-cr-00272-PLM
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     EUGENE ROSE                                                                               Case Number:         1:06-CR-272

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)     The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                      offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                      existed) that is
                            a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                            an offense for which the maximum sentence is life imprisonment or death.
                            an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
             (1)      There is probable cause to believe that the defendant has committed an offense
                            for which a maximum term of imprisonment of ten years or more is prescribed in
                            under 18 U.S.C.§924(c).
             (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
             (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                     Defendant is charged with two offenses involving the sale of firearms without a license, along with a co-defendant. It
                     appears defendant, who had no criminal record, served as a body guard for his co-defendant, a felon, and enabled the latter
                     to illegally be involved with firearms (selling, purchasing, shooting, shipping). At one point, the duo hired a third person to
                     do debt collection, and armed him with 250,000 volt stun gun and a collapsible baton. They also asked the man if he would
                     be willing to guard a kidnapped person and shoot him if he tried to escape. When the third person decided not to
                     participate, they strip-searched him, and Rose pointed a gun at his head and threatened him. (continued on second page)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   there is no condition or combination of conditions that will assure the safety of the community from the threat defendant
   appears to pose. There is clearly evidence he was assisting a felon in obtaining and selling firearms, that he was attempting
   a violent debt collection business, that he talked to a third party about committing kidnapping and possibly murder, that he
   told a witness he had killed eight people himself, that he pointed a gun at a man's head and (continued on second page)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         December 11, 2006                                                            /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)

After the police became involved, the Sparta Police Department was subsequently dispatched to defendant's home
because defendant was intoxicated and his wife found him loading a gun and pointing it at his head. He was admitted
to Pine Rest Hospital for attempted suicide. Defendant told one witness he had killed eight people, although there is
no independent evidence to support this. Defendant has avoided the police, although he did not flee the area.
Defendants were also found in possession of approximately 4,000 rounds of ammunition.




Part II - Written Statement of Reasons for Detention - (continued)

threatened to kill him if he told anybody about the co-defendants, and that he has acted erratically since learning of the
police investigation by threatening suicide and avoiding the police. On their face, these facts paint defendant as a
dangerous person. If defendant has painted a picture of himself that is worse than he really is, the court has no way of
knowing.
